    Case 3:12-cr-01870-LAB   Document 67   Filed 06/27/12   PageID.132   Page 1 of 1



                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                  CASE NO. 12CR1870-LAB

                      Plaintiff,
               vs.                         JUDGMENT OF DISMISSAL
DAVID NICOLAS-REYES(3),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

X    an indictment has been filed in case 12CR2252-LAB against the
     defendant and the Court has granted the motion of the Government for
     dismissal of this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

X    of the offense(s) as charged in the Indictment/Information:

     8:1326 (a) and (b) - Removed Alien Found in the United States



          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged
as to this case only.


DATED: 6/19/2012
                                           Barbara L. Major
                                           U.S. Magistrate Judge
